          Case 1:21-cr-00305-JEB Document 78 Filed 02/09/23 Page 1 of 8




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

                v.                                      Criminal Action No. 21-305 (JEB)


 SARA CARPENTER,

        Defendant.


                                 MEMORANDUM OPINION

       Defendant Sara Carpenter faces charges for allegedly participating in the insurrection at

the United States Capitol on January 6, 2021. Both she and the United States have filed a series

of Motions in Limine, several of which remain outstanding. They concern character evidence,

see ECF No. 55 (Character Evidence Motion); an entrapment-by-estoppel defense, see ECF No.

56 (Entrapment by Estoppel Motion); and various pieces of Government evidence. See ECF No.

59 (Defense MIL). The Court resolves those Motions together here.

I.     Legal Standard

       “[M]otions in limine are a means for arguing why ‘evidence should or should not, for

evidentiary reasons, be introduced at trial.’” Graves v. District of Columbia, 850 F. Supp. 2d 6,

11 (D.D.C. 2011) (emphasis omitted) (quoting Williams v. Johnson, 747 F. Supp. 2d 10, 18

(D.D.C. 2010)). They “are ‘designed to narrow the evidentiary issues for trial and to eliminate

unnecessary trial interruptions.’” Id. at 10 (quoting Bradley v. Pittsburgh Bd. of Educ., 913 F.2d

1064, 1069 (3d Cir. 1990)). The court has “broad discretion in rendering evidentiary rulings, . . .

which extends . . . to the threshold question of whether a motion in limine presents an evidentiary




                                                 1
          Case 1:21-cr-00305-JEB Document 78 Filed 02/09/23 Page 2 of 8




issue that is appropriate for ruling in advance of trial.” Barnes v. District of Columbia, 924 F.

Supp. 2d 74, 79 (D.D.C. 2013).

       Although state and federal rulemakers have the prerogative to fashion standards for the

inclusion of evidence at trial, the Constitution guarantees to criminal defendants the right to a

“meaningful opportunity to present a complete defense.” Holmes v. South Carolina, 547 U.S.

319, 324 (2006) (quoting Crane v. Kentucky, 476 U.S. 683, 690 (1986)). This limits courts’

ability to impose “arbitrary” rules of evidence, including those that exclude “important defense

evidence” without serving “any legitimate interests,” or are otherwise “disproportionate to the

purposes they are designed to serve.” Id. at 324 (internal quotation marks omitted). At the same

time, it falls within a court’s discretion to exclude evidence whose probative value is outweighed

by other negative factors, such as its potential to confuse or mislead the jury. Id. at 326; see also

id. at 330 (noting that evidentiary rules seek to “focus the trial on the central issues by excluding

evidence that has only a very weak logical connection to the central issues”). And a defendant is

only entitled to a jury instruction on an affirmative defense “if there is sufficient evidence from

which a reasonable jury could find for the defendant on that theory.” United States v. Nwoye,

663 F.3d 460, 462 (D.C. Cir. 2011) (internal quotation marks omitted).

II.    Analysis

       A. Character Evidence

       The United States moves in limine to exclude “evidence of specific instances of

[Defendant’s] prior good conduct, including that derived from her career in law enforcement.”

Char. Evid. Mot. at 1. The Court will grant the Motion.

       Under Federal Rule of Evidence 405(b), a defendant may introduce specific instances of

conduct to prove a particular character trait only where that trait “is an essential element of a




                                                  2
          Case 1:21-cr-00305-JEB Document 78 Filed 02/09/23 Page 3 of 8




charge, claim, or defense.” Here, however, Defendant’s purported character traits of

peacefulness or nonviolence are not elements of any charge or defense. In other words, the

Government does not need to show that she has any particular character of aggressiveness or

violence in order to prevail. Judge Amit Mehta recently so held, granting a Government motion

in limine to prevent a decorated NYPD officer from introducing examples of peaceable conduct

in a January 6th trial. See United States v. Webster, No. 21-208 (D.D.C.), ECF No. 75 (Order on

MILs), ¶ 2. This Court will similarly prohibit Carpenter from introducing specific prior acts of

peacefulness or nonviolence, including from her time as an NYPD officer.

       The Government’s Motion also mentions reputation or opinion testimony, which is

governed by the related Rule 405(a). See Char. Evid. Mot. at 5. Where a defendant’s character

trait is “pertinent” to a charge or defense but not an essential element of one, that Rule provides

that evidence of that trait “may be proved by testimony about the person’s reputation or by

testimony in the form of an opinion.” The Government here appears to recognize that evidence

of Defendant’s general law-abidingness, including her peacefulness or nonviolence, might be

pertinent to the charged offenses; it thus argues only that “the form of that evidence” would have

to be constrained by Rule 405(a). See Char. Evid. Mot. at 5–6. The Court accordingly will

allow Carpenter to introduce evidence as to her character for law-abidingness or peacefulness but

only “by testimony about [her] reputation or by testimony in the form of an opinion” under Rule

405(a), not via evidence of prior acts. See Webster, No. 21-208, Order on MILs, ¶ 2 (Judge

Mehta taking same approach) (citing United States v. Washington, 106 F.3d 983, 999–1000

(D.C. Cir. 1997); and United States v. Irving, No. 07-107, 2008 WL 163653, at *1 (D.D.C. Jan.

18, 2008)).




                                                 3
          Case 1:21-cr-00305-JEB Document 78 Filed 02/09/23 Page 4 of 8




        B. Entrapment-by-Estoppel Defense

        The Government next moves to preclude Carpenter from raising as an affirmative defense

entrapment by estoppel, also sometimes referred to as the “public authority” defense. See

Entrap. Mot. In response, Defendant filed a notice informing the Court and the Government that

she may wish to present such a defense, arguing that she believed that her actions on January 6

were authorized by President Trump and the Capitol Police. See ECF No. 60 (Def. Notice) at 1;

ECF No. 68 (Def. Opp.) at 7–8, 12. The Court will preclude that defense as to the statements

made by the former President but will allow it at this juncture as to the Capitol Police.

                   President Trump

        As to statements made by former President Trump, the Court finds persuasive an opinion

in this district written by Judge John Bates, which precluded a defendant from raising the public-

authority defense based on the same statements as Carpenter wishes to rely on here. See United

States v. Sheppard, No. 21-203, 2022 WL 17978837 (D.D.C. Dec. 28, 2022). In that opinion,

Judge Bates undertook a thorough review of the D.C. Circuit’s treatment of both the public-

authority and entrapment-by-estoppel defenses to conclude that they are “available only when

the official’s statements or conduct state or clearly imply that the defendant’s actions are lawful.”

Id. In applying that principle to Trump’s speech at his rally on January 6, Judge Bates found

that:

               [t]hese words only encourage those at the rally to march to the
               Capitol — nothing more — and do not address legality at all. But,
               although his express words only mention walking down
               Pennsylvania Avenue to the Capitol, one might conclude that the
               context implies that he was urging protestors to do something more
               — perhaps to enter the Capitol building and stop the certification.
               But even if so, there is simply no indication that Trump informed
               the protestors that doing so would be legal, as required to make out
               either [the public-authority or entrapment-by-estoppel] defense. His
               speech simply suggests that it would be an act of “boldness” to “stop



                                                  4
          Case 1:21-cr-00305-JEB Document 78 Filed 02/09/23 Page 5 of 8




               the steal.” Thus, allowing [defendant’s] reliance on these words
               would be an instance of allowing “following orders, without more,
               [to] transform an illegal act into a legal one” — something the D.C.
               Circuit has unequivocally declined to do.

Id. (citation and emphasis omitted).

       Carpenter here makes virtually the same arguments as the defendant did in Sheppard.

She contends that, after Trump’s rally speech, she “had no reason to believe that the President

had not authorized [the rallygoers] to be able to walk freely at the Capitol to confront Congress

and influence them not to certify the vote” and that the “President never once warned the crowd

not to actually enter the building and even indicated he was going to join them.” Def. Opp. at 7.

But it is not enough for Carpenter to show that she believed that the former President approved

of their marching to and entering the Capitol; instead, she must offer evidence that he either

expressly stated or strongly implied that to do so was lawful. See Sheppard, 2022 WL

17978837, at *9 n.6 (declining to decide whether assurance from public authority must be

express or how clearly it must be implied because “former President Trump neither said nor

implied that [defendant’s] actions were legal”).

       Because the Court is persuaded that Trump’s statements at the January 6 rally do not

plainly state or imply that entering the Capitol or interfering with the electoral certification

would be lawful, they cannot support an entrapment-by-estoppel or public-authority defense.

                   Law Enforcement

       The Government also seeks to preclude the defense “from arguing that any failure to act

by law enforcement” to prevent protesters from entering the Capitol “rendered [Carpenter’s]

conduct legal.” Entrap. Mot. at 7; see Def. Opp. at 12–13. On this point, the Court agrees with

Defendant that such a ruling would be premature and should await the presentation of evidence

at trial. Considering what evidence is admitted, the Court will rule before closings and



                                                   5
          Case 1:21-cr-00305-JEB Document 78 Filed 02/09/23 Page 6 of 8




instructions whether this defense is available. As a result, it cautions Defendant that if she relies

on this argument in opening, she risks the possibility that the Court may not provide an

entrapment-by-estoppel instruction to the jury in the event that she has not presented “sufficient

evidence from which a reasonable jury could find for the defendant on that theory.” Nwoye, 663

F.3d at 462.

       C. Defense Motion

       Defendant, for her part, moves in limine to exclude three categories of evidence, which

the Court will address in turn.

       First, she asks the Court to preclude the introduction of a 22-minute montage of

surveillance footage capturing what occurred on the Capitol Grounds and inside the Capitol

building during the afternoon hours of January 6. See Def. MIL at 1, 4. She argues that because

she is nowhere depicted, the video is entirely irrelevant to the charges against her. Id. at 4. For

similar reasons, Carpenter also seeks to exclude other general visual evidence showing events

from that day in which she did not take part. Id.

       To begin, the Court recognizes that this part of her Motion may be premature, as the

Government has yet to confirm whether it will even be using the 22-minute montage at trial. Id.

at 4 (noting that defendant “anticipate[s]” use of the compilation). Assuming for purposes of this

Opinion that it will, however, the Court at this point cannot find the video — along with other

overview evidence — inadmissible.

       As a general matter, the Government must be given leeway to place a defendant’s actions

into context and to assist the jury in “organiz[ing] and evaluat[ing] evidence which is factually

complex and fragmentally revealed.” United States v. Lemire, 720 F.2d 1327, 1348 (D.C. Cir.

1983). This category of evidence would permit the Government to do just that. Perhaps more




                                                  6
          Case 1:21-cr-00305-JEB Document 78 Filed 02/09/23 Page 7 of 8




importantly, however, general evidence of the events of January 6 is probative of several

elements of the crimes with which Carpenter is charged. See Fed. R. Evid. 401. Specifically, to

prove that she violated 18 U.S.C. § 231(a)(3) (Count I), the Government must establish that she

committed an act to “obstruct, impede, or interfere with” law enforcement in the performance of

their duties “during the commission of a civil disorder which in any way or degree obstructs . . .

or performance of any federally protected function.” 18 U.S.C. § 231(a)(3) (emphasis added);

ECF No. 63 (Gov’t Opp.) at 7. The montage video and other similar evidence is plainly

probative of whether (a) a civil disorder actually transpired, and (b) said disorder obstructed the

performance of a federally protected function. Consider also Count II, which alleges that

Carpenter “obstruct[ed] . . . any official proceeding, or attempt[ed] to do so.” 18 U.S.C.

§ 1512(c)(2). To prove a violation of § 1512(c)(2), the Government must show that that there

was an official proceeding, and that such proceeding was in fact disrupted. Id.; Gov’t Opp. at 7.

Here, too, general evidence of the events on January 6 would be highly relevant.

       In the context of the charges brought against Carpenter, the weighty probative value of

evidence that broadly depicts what happened on January 6 outweighs any potential prejudice or

cumulativeness. The Court at this point thus sees no reason to exclude it. To the extent that

Defendant objects to specific images as being too prejudicial, she may raise her objections

during trial, and the Court will address them at that time. See, e.g., Def. MIL at 6 (objecting to

specific images and actions in video as unfairly prejudicial and confusing).

       Second, Carpenter moves to prevent the Government from using “inflammatory

language” like “insurrection,” “rioters,” or “mob.” Id. at 2, 8–9. She maintains that the terms

are highly prejudicial and “only serve the purpose of invoking emotional responses from the

jury.” Id. at 8. That is incorrect. What occurred on January 6 was in fact a riot and an




                                                 7
          Case 1:21-cr-00305-JEB Document 78 Filed 02/09/23 Page 8 of 8




insurrection, and it did in fact involve a mob. The terms to which Defendant objects are thus

accurate descriptors, not attempts to provoke or agitate the jury. To be sure, Carpenter’s

concerns are not entirely without merit, so the Court will monitor the Government’s use of

language during trial to guard against potential prejudice from, say, excessive repetition. For

now, though, the Court concludes that so long as the Government refrains from imputing guilt

solely by association, there is no need for it to sanitize or “dilute” the language it uses to describe

the events of January 6. See Gov’t Opp. at 9.

       Finally, Defendant asserts that the Government should be precluded from

“introducing . . . alleged statements of Ms. Carpenter that it has not previously disclosed.” Def.

MIL at 1. The Government has provided the statements it currently has to the defense, and it has

agreed to promptly notify Defendant of any additional ones it discovers between now and the

trial. See Gov’t Opp. at 11. The Court finds that to be a fair and acceptable protocol. Absent a

showing of serious prejudice, there is no reason to lock the Government into relying only on the

evidence of which it is currently aware. This part of the Motion will also be denied.

III.   Conclusion

       The Court, accordingly, will grant the Government’s Character Evidence Motion, grant in

part and deny in part the Government’s Entrapment-by-Estoppel Motion, and deny Defendant’s

Motion in Limine. A separate Order so stating will issue this day.



                                                               s/ James E. Boasberg
                                                               JAMES E. BOASBERG
                                                               United States District Judge
Date: February 9, 2023




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